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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 Fort Worth Division


                                           )
  UNITED STATES OF AMERICA                 )
                                           )
         Plaintiff,                        )
                                           )
                 v.                        )    4:21-cr-00005-O
                                           )
  THE BOEING COMPANY                       )
                                           )
         Defendant.                        )
                                           )


  GOVERNMENT’S RULE 48(a) MOTION TO DISMISS THE INFORMATION AND
 MOTION TO TERMINATE PRETRIAL DEADLINES AND VACATE THE TRIAL DATE


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 I.        INTRODUCTION

           The United States of America (the “Government” or the “Department”) respectfully moves,

 under Federal Rule of Criminal Procedure 48(a) and with the consent of Defendant The Boeing

 Company (“Boeing” or the “Company”), to dismiss without prejudice the pending Criminal

 Information (“Information”). 1 The Government writes to provide its reasons for moving to dismiss.

 See In re Ryan, 88 F.4th 614, 627-28 (5th Cir. 2023).

           The Government has decided not to proceed to trial because the parties have reached a non-

 prosecution agreement (“Agreement” or “NPA”) 2 that secures meaningful accountability, delivers

 substantial and immediate public benefits, and brings finality to a difficult and complex case whose

 outcome would otherwise be uncertain. Boeing will pay and invest another $1.1 billion combined

 in penalties, compensation to the family members of the victims of the Lion Air Flight 610 and

 Ethiopian Airlines Flight 302 airplane crashes (“Families”), and improvements to its compliance,

 safety, and quality programs. 3 The Company will continue to enhance its anti-fraud compliance

 and ethics program and will retain an independent compliance consultant who will report to the

 Government. 4 And Boeing’s Board of Directors will have to meet face-to-face with the Families. 5

           Before deciding to offer and enter the Agreement, the Government solicited the views of

 the Families, with whom the Government has continued to engage in good faith and in satisfaction

 of the Crime Victims’ Rights Act, 18 U.S.C. § 3771 (“CVRA”). 6 Of those who shared their views,


 1
     Criminal Information, ECF No. 1 (Jan. 7, 2021).
 2
     Exhibit 1, May 29, 2025 Non-Prosecution Agreement between Government and Boeing (“NPA”).
 3
     NPA, at 7, ¶ 12 (penalty); id. at 6, ¶ 11 (compensation); id. at 7-8, ¶ 13 (investment).
 4
     Id. at 5-6, ¶¶ 8-10.
 5
     Id. at 8, ¶ 14.
 6
  See generally Exhibit 2, Declaration of Sean P. Tonolli (“Gov’t NPA Decl.”), and accompanying
 Exhibits 3-27.


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 the feedback ranged from support for to opposition against the Agreement. 7 Family members on

 behalf of over 110 crash victims have expressed their support for the Agreement specifically or the

 Department’s judgment to resolve the case pre-trial, or at least do not oppose the Agreement. 8

 Several other Families continue to urge the Government to go to trial—even though their

 conception of what the trial should look like does not align with the charge, the evidence, and the

 law 9—and they urge the Government to reject any pre-trial resolution other than a plea by Boeing

 to the Information without any agreement. 10 Some number of these Families will file oppositions

 to this motion, and the Government supports their right to do so.

           The Government has “recount[ed]” these views to confirm that it has “consulted on the

 dismissal” contemplated in this motion with the Families and weighed them in its decision to

 proceed with an NPA and a motion to dismiss the pending charge without prejudice. In re Ryan,

 88 F.4th at 627 (quoting United States v. Heaton, 458 F. Supp. 2d 1271, 1273 (D. Utah 2006)). The

 Government has the deepest respect for all the Families, including those who do not share the

 Government’s view that the Agreement is in the public interest, and recognizes the deep



 7
     Gov’t NPA Decl., at 19, ¶ 52.
 8
     Id.
 9
   Compare Exhibit 24, at 28, 30, May 22, 2025 P. Cassell letter to Government (“The families also
 believe that a criminal prosecution of Boeing’s then-responsible corporate officials at the time of
 the two crashes, including in particular former Boeing CEO Dennis Muilenburg, is appropriate. . .
 . A single conspiracy charge for fraud in a case in which the defendant directly and proximately
 caused 346 deaths is already extraordinarily lenient treatment for an extraordinarily deadly crime.),
 with Gov’t Resp. in Support of Proposed Plea Agreement (“Gov’t Plea Resp.”), at 10-11, ECF No.
 245 (“[T]he Government does not have sufficient evidence (i) to charge Boeing with a federal
 criminal offense with an offense element relating to the deaths; (ii) to allege and prove beyond a
 reasonable doubt that any other Boeing personnel, including senior executives and board members,
 conspired with the former Chief Technical Pilot and the other Technical Pilot; or (iii) to allege and
 prove beyond a reasonable doubt a pecuniary gross gain or loss amount greater than the $243.6
 million in training-cost savings Boeing derived.”).
 10
      Gov’t NPA Decl., at 19, ¶ 52.

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 disappointment caused by this difference in judgment. The Executive Branch, however, remains

 “the first and presumptively the best judge of whether a pending prosecution should be

 terminated.” United States v. Hamm, 659 F.2d 624, 628-29 (5th Cir. Unit A 1981) (en banc)

 (quotation omitted); 18 U.S.C. § 3771(d)(6) (“Nothing in [the CVRA] shall be construed to impair

 the prosecutorial discretion of the Attorney General or any officer under [her] direction.”).

            The Government stands by its determination in May 2024 that Boeing breached the

 deferred prosecution agreement (“DPA”) 11 by not fully meeting its compliance obligations and

 that the Company needs to be held further accountable for that breach. 12 But in the year since the

 breach determination, the Company has made meaningful progress in improving its anti-fraud

 compliance and ethics program. 13 And the Federal Aviation Administration (“FAA”)—Boeing’s

 congressionally mandated regulator—has sustained its more robust oversight of the Company in

 the wake of the Alaska Airlines Flight 1282 incident, and that oversight is focused on, among other

 issues, the very ones that formed the basis of the breach determination. 14

            In light of these changed circumstances, and taking into account the certainty, finality, and

 substantial benefits the Agreement secures, the Government has determined, after careful and good

 faith consideration, that it is in the public interest to dismiss the Information in exchange for the

 obligations the NPA places on Boeing.

            Given the Government’s decision not to further prosecute Boeing and the need for the

 Court to rule on the motion to dismiss, in order to avoid unnecessary litigation and expenditure of



 11
      Deferred Prosecution Agreement, ECF No. 4 (Jan. 7, 2021).
 12
    Government Notice, ECF No. 199 (May 14, 2024); Government Status Report, ECF No. 206
 (Jul. 8, 2024).
 13
      Gov’t NPA Decl., at 12-13, ¶¶ 36-38.
 14
      Id.

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 resources, the Government also moves, with Boeing’s consent, for the Court to terminate the

 pretrial deadlines and vacate the trial date. 15 A proposed Order accompanies this filing. 16

 II.       FACTUAL BACKGROUND

           On December 5, 2024, the Court rejected the plea agreement proposed by the parties and

 ordered them to meet and confer regarding how they planned to proceed. 17 That same day, the

 Government notified the Families of the Court’s decision and sought their feedback on how to

 proceed. 18

           On December 11, 2024, the Government held an over two-hour conferral for the Families

 and their counsel, more than approximately 90 of whom joined. 19 Those who spoke expressed the

 view that the Government should proceed to trial. 20

           After careful consideration of the Families’ views, the facts and the law, the Department’s

 Principles of Federal Prosecution, 21 and the ethical and professional obligations of prosecutors,

 the Government decided to pursue another pre-trial resolution. 22 The Government informed the

 Families and the Court of this decision on January 3, 2025. 23




 15
   Pretrial Scheduling Order, ECF No. 294 (Mar. 25, 2025); Trial Order, ECF No. 293 (Mar. 25,
 2025).
 16
      Exhibit 28.
 17
   Order Rejecting Proposed Plea Agreement (“Order Rejecting Plea”), ECF No. 282 (Dec. 5,
 2024).
 18
      Gov’t NPA Decl., at 7, ¶¶ 18-20.
 19
      Id. at 8-9, ¶¶ 24-27.
 20
      Id. at 9, ¶ 28.
 21
    Justice Manual (“JM”) §§ 9-27.000, -28.000, available at https://www.justice.gov/jm/title-9-
 criminal.
 22
      Gov’t NPA Decl., at 9-10, ¶ 29.
 23
      Id. at 10 ¶ 31.

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            On May 12, 2025, the parties’ discussions resulted in a potential framework—but not an

 offer by the Government—to resolve this case through a non-prosecution agreement. 24 The next

 day, the Government invited the Families and their counsel to another conferral to discuss whether

 to resolve this case through the possible agreement or proceed to trial. 25

            The Government held the over two-hour conferral on May 16, 2025. 26 More than

 approximately 90 Family members and counsel attended. 27 The Government explained the

 material terms of the possible agreement and discussed the uncertainty of proceeding to trial. 28

 The Families and counsel who spoke voiced opposition to the possible agreement and dismissing

 the case because, consistent with their views that they have previously shared with the Government

 and the Court, they believe the Government should take Boeing to trial notwithstanding the risks. 29

            At the request of some of the Family members, the Government agreed, before making its

 decision, to consider follow-up written submissions it received through the close of business on




 24
      Id. at 11, ¶ 34.
 25
      Id. at 13-14, ¶ 40.
 26
      Id. at 15, ¶ 44.
 27
      Id.
 28
      Id. at 16-18, ¶ 48.
 29
    Id. at 18, ¶ 49. The Government had previously raised the possibility of resolving this case
 through an NPA in a prior conferral on May 31, 2024, after the Government made the DPA breach
 decision. ECF No. 245-1, at 16-21, ¶¶ 37-43; ECF No. 245-22, at 3 (June 4, 2024 P. Cassell letter
 to Government) (responding to the option of the Government “enter[ing] into a new NPA or new
 DPA with Boeing”); see also Exhibit 24, at 28, May 22, 2025 P. Cassell letter to Government (“You
 may recall that at an earlier, May 31, 2024, meeting and in follow-up, the families explained that
 any effort to dismiss the charges against Boeing would be absurd.”); id. at 28 n.1 (“In early June
 [2024], I sent a letter to Glenn Leon, your predecessor. This letter incorporates all concerns and
 arguments advanced in that letter, and we urge you to read that letter as well. Also, you will have
 seen our brief and reply brief last summer about the proposed guilty plea. This letter also
 incorporates all concerns and arguments advanced in that briefing.”)

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 May 22, 2025. 30 The Government received 14 written submissions totaling 40 pages, expressing

 views ranging from support for the Agreement to complete opposition. 31

           The Government again carefully considered the perspectives of the Families—not just from

 the May 16th conferral and the written submissions, but all the views the Families shared with the

 Government and Court throughout the case—and all the other relevant factors discussed above. 32

 On May 23, 2025, the Government decided to offer the NPA to Boeing, which the Company

 accepted. 33 The Government informed the Families of these developments before informing the

 Court. 34 The parties proceeded to memorialize the Agreement in writing, and it became effective

 May 29, 2025. 35

           The Agreement, which has a term of two years, 36 imposes obligations on both parties.

 Boeing, for its part, must:

                    •      Admit to conspiracy to obstruct and impede the lawful operation of the

 Federal Aviation Administration Aircraft Evaluation Group and agree that it is not a “prevailing

 party” for purposes of the Hyde Amendment. 37 The Agreement will not provide protection against

 prosecution for any other misconduct. 38 If Boeing breaches the Agreement, the Government can



 30
      Gov’t NPA Decl., at 18, ¶ 50.
 31
      Id. at 19, ¶ 52.
 32
      Id. at 19-20, ¶¶ 53-54.
 33
      Id. ¶ 54.
 34
      Id. at 20, ¶ 55.
 35
      Id. ¶ 56.
 36
   NPA, at 4, ¶ 5. Two years effectively brings the NPA term in line with the three-year term under
 the proposed plea agreement if had Boeing been able to plead guilty last July.
 37
   NPA, at B-2, ¶ 1. See Pub. L. No. 105-119, § 617, 111 Stat. 2440, 2519 (1997); 18 U.S.C. §
 3006A note.
 38
      NPA, at 1, ¶ 1, 8, ¶ 15.

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 refile the Information charging the Company for the criminal conduct in this case, so long as the

 Court has not dismissed the Information with prejudice. 39

                    •       Pay a criminal monetary penalty of $487.2 million, 40 which is the statutory

 maximum fine, 41 with credit for the $243.6 million penalty the Company previously paid pursuant

 to the DPA. 42

                    •       Fund $444.5 million in another Crash-Victim Beneficiaries fund, to which

 the estate of each crash victim will be entitled to an equal pro rata share. 43 This is in addition to

 the $500 million Crash-Victim Beneficiaries fund that Boeing paid under the DPA and any civil

 settlements the Families have received or do receive in the future. 44

                    •       Invest $455 million to strengthen the Company’s compliance, safety, and

 quality programs. 45

                    •       Continue to improve the effectiveness of the Company’s anti-fraud

 compliance and ethics program 46, and retain an independent compliance consultant empowered to

 make recommendations for further improvement and required to report its findings directly to the

 Government. 47 This approach strikes a careful balance between, on the one hand, the continued




 39
      Id. at 8-9, ¶ 16.
 40
      Id., at 7, ¶ 12.
 41
      Gov’t Plea Resp. at 11-12, 26-27.
 42
      DPA, at 11, ¶ 10.
 43
      NPA, at 6-7, ¶ 11.
 44
    DPA, at 12, ¶ 13; Gov’t NPA Decl. at 3-6, ¶¶ 8-16 (explaining how the Government, with
 assistance from financial experts in personal economic loss, calculated the $444.5 million).
 45
      NPA, at 7-8, ¶ 13.
 46
      Id. at 5-6, ¶¶ 8-9.
 47
      Id. at 6, ¶ 10, D-3-4, ¶ 6.

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 need to ensure and independently verify that Boeing’s program improves, with, on the other hand,

 the meaningful compliance improvements Boeing has made since the parties proposed the plea

 agreement last summer and the FAA’s sustained, enhanced oversight of the Company since the

 Alaska Airlines Flight 1282 incident. 48 The FAA’s enhanced oversight includes, for example,

 placing many fulltime, in-person inspectors at each major Boeing production facility, who

 independently conduct audits, investigate complaints, and have free access to Boeing personnel to

 continuously evaluate safety and compliance, including compliance issues that were the basis for

 the Government’s DPA-breach determination. 49

                    •        Arrange for the Company’s Board of Directors to meet with the Families to

 hear directly from them about the impact of the Company’s conduct, as well as the Company’s

 compliance, safety, and quality programs. 50

                    •        Cooperate with any investigation by the Department of Justice as a matter

 of course, and, at the Department’s request, with any investigations conducted by other domestic

 or foreign law enforcement and regulatory authorities and agencies. 51

           In exchange for these certain, guaranteed, and substantial benefits the Agreement secures

 from Boeing, and the litigation risks the Agreement addresses, the Government’s primary


 48
    Gov’t NPA Decl., at 11-13, ¶¶ 35-38. In considering whether a monitorship is necessary,
 Department and Criminal Division policy requires prosecutors to assess the state of the company’s
 compliance and ethics program at the time of a resolution, as well as whether the company is
 otherwise subject to government oversight. JM § 9-28.1700(A)(10), (B); U.S. Department of
 Justice, Criminal Division, Evaluation of Corporate Compliance Programs, at 1 (Sept. 2024),
 available     at      https://www.justice.gov/criminal/criminal-fraud/page/file/937501/dl?inline;
 Memorandum of the Head of the Criminal Division on Selection of Monitors in Criminal Division
 Matters, at 3 (May 12, 2025) (“Criminal Division Monitor Memo”), available at
 https://www.justice.gov/criminal/media/1400036/dl?inline.
 49
      Gov’t NPA Decl., at 12, ¶ 37.
 50
      NPA, at 8, ¶ 14.
 51
      Id., at 4-5, ¶¶ 6-7.

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 obligation is to move to dismiss the Information without prejudice and to not further prosecute the

 Company for the conduct that is the subject of this case. 52 Boeing has consented in writing to the

 dismissal without prejudice. 53

 III.       RULE 48(a) LEGAL STANDARD

            Under Federal Rule of Criminal Procedure 48(a), “[t]he government may, with leave of

 court, dismiss an . . . information.” The Fifth Circuit has read the Rule’s “leave of court” language

 to grant courts “discretion” to deny a motion to dismiss under this provision in two situations.

 Hamm, 659 F.2d at 629. First, because “[t]he principal object of the ‘leave of court’ requirement

 is . . . to protect a defendant from prosecutorial harassment, e.g., charging, dismissing, and

 recharging,” a court may refuse to dismiss a prosecution if the defendant objects to that dismissal.

 Rinaldi v. United States, 434 U.S. 22, 29 n.15 (1977); e.g., United States v. Salinas, 693 F.2d 348,

 351-53 n.15 (5th Cir. 1982) (holding that the government wrongly dismissed an indictment and

 reindicted one week later because it wanted a “better” jury). Second, the Fifth Circuit has stated

 that, “even where the defendant consents to the motion to dismiss, the trial court, in extremely

 limited circumstances in extraordinary cases, may deny the motion when the prosecutor’s actions




 52
      Id., at 8, ¶ 15.
 53
      Id. at 8, ¶ 15, B-2, ¶ 1.

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 clearly indicate a ‘betrayal of the public interest.’” 54 Hamm, 659 F.2d at 629 (citation omitted). A

 trial court may therefore, according to the Fifth Circuit, deny a Rule 48(a) motion to dismiss only

 if the court “finds that the prosecutor is clearly motivated by considerations other than his

 assessment of the public interest.” Id. at 630 (using the example of a prosecutor “motivated to

 dismiss because he has accepted a bribe or because he desires to attend a social event instead of

 attend upon the court in the trial of the case or because he personally dislikes the victim of the

 crime”).

        Absent evidence of such highly unusual (and unlikely) conduct, a court ordinarily should

 grant a Rule 48(a) motion to dismiss if the parties agree that dismissal is appropriate. See, e.g.,

 United States v. Reyes, 102 F.3d 1361, 1367-68 (5th Cir. 1996). If the motion is contested, further

 inquiry is appropriate. United States v. Welborn, 849 F.2d 980, 983-84 (5th Cir. 1988). The court

 still “must begin with the presumption that the prosecutor acted in good faith” in moving to dismiss

 a charging document. Id. at 983. After all, the Executive Branch remains “the first and

 presumptively the best judge of whether a pending prosecution should be terminated.” Hamm, 659

 F.2d at 628-29. The court may, however, expect the prosecutor “to supply sufficient reasons”

 supporting the dismissal—not just “a bare conclusion in support of its motion.” Welborn, 849 F.2d


 54
   The Court in Rinaldi found it “unnecessary to decide whether [a] court has discretion” to refuse
 to dismiss a charging document in this second scenario. Rinaldi, 434 U.S. at 29 n.15. To preserve
 the issue for review, the government notes its disagreement with the Fifth Circuit’s position that
 Rule 48(a)’s “leave of court” requirement permits a court to deny a motion to dismiss unopposed
 by the defendant and requires the prosecutor to give reasons for his motion to dismiss. Reading
 Rule 48(a) in that way undercuts the Executive Branch’s “‘exclusive authority and absolute
 discretion‘” to decide which crimes to investigate and prosecute, Trump v. United States, 603 U.S.
 593, 620 (2024), and allows Rule 48(a) to drift far from the founding-era and “common-law rule
 that the public prosecutor may enter a nolle prosequi in his discretion,” Fed. R. Crim. P. 48, Adv.
 Committee Note (1944); see United States v. Cowan, 524 F.2d 504, 505 (5th Cir. 1975) (noting
 that common-law history); cf. In re United States, 345 F.3d 450, 454 (7th Cir. 2003) (explaining
 that the Constitution requires the “concurrence of all three branches” of government before “one
 can be convicted of a crime”).

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 at 983 (quotation omitted). “Based on the prosecutor’s statement of reasons and any response,” the

 court must decide if “the presumption of good faith is overcome by ‘an affirmative reason to

 believe that the dismissal motion was motivated by considerations contrary to the public interest.’”

 Id. at 984 (citation omitted); Salinas, 693 F.2d at 352 (“Although the burden of proof is not on the

 prosecutor to prove that dismissal is in the public interest, the prosecutor is under an obligation to

 supply sufficient reasons—reasons that constitute more than a mere conclusory interest

 [supporting dismissal].”) (quotation omitted). That judgment must turn, not on any prior

 improprieties in the case, but on whether “the Government’s later efforts to terminate the

 prosecution were . . . tainted with impropriety.” Rinaldi, 434 U.S. at 30; accord Hamm, 659 F.2d

 at 629 (“[T]he trial judge must look to the motivation of the prosecutor at the time of the decision

 to dismiss.”).

        Although the parties to this case agree that dismissal is appropriate—and thus the Rule

 48(a) motion is not contested in the traditional sense—the Government acknowledges that some

 of the Families disagree with this resolution. Ryan provides further guidance as to how a Rule

 48(a) dismissal intersects with the rights of crime victims under the CVRA. The prosecutor must

 “recount that the victim[s] ha[ve] been consulted on the dismissal and what the victim[s’] views

 were on the matter.” 88 F.4th at 627 (quoting Heaton, 458 F. Supp. 2d at 1273). Then, this Court

 must “assess the public interest according to case law as well as the CVRA, including violations

 already admitted to, as well as any other circumstances brought to its attention by the victims’

 families.” Id. In other words, this Court may consider the victims’ views and any CVRA violations

 in considering whether the government’s current decision to dismiss the case is “tainted with

 impropriety.” Rinaldi, 434 U.S. at 30. Findings of such impropriety are appropriate only in rare

 and extreme cases, such as if a prosecutor sought dismissal “because he personally dislikes the



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 victim[s],” Hamm, 659 F.2d at 630, or to shirk his duties under the CVRA, 18 U.S.C. § 3771.

 Otherwise, the presumption that the government seeks dismissal in good faith remains intact even

 if a crime’s victims disagree with the government’s decision. 18 U.S.C. § 3771(d)(6) (disclaiming

 any intent for the CVRA “to impair the prosecutorial discretion of the Attorney General or any

 officer under [her] direction”); see United States v. Rubin, 558 F. Supp. 2d 411, 418 (E.D.N.Y.

 2008) (“[T]he CVRA, for the most part, gives victims a voice, not a veto.”).

        So long as the government follows this process and has weighed the matter carefully and

 in good faith, a district court must grant the motion to dismiss. The “court cannot deny leave of

 court because of a view that the defendant should stand trial notwithstanding the prosecution’s

 desire to dismiss the charges.” United States v. Fokker Servs., 818 F.3d 733, 742 (D.C. Cir. 2016).

 Nor may a court deny leave on the ground that the prosecution has “fail[ed] adequately to redress

 the gravity of the defendant’s alleged conduct.” Id. “The authority to make such determinations

 remains with the Executive,” id., and decisions on those fronts are “particularly ill-suited to judicial

 review,” Wayte v. United States, 470 U.S. 598, 607 (1985); see Rinaldi, 434 U.S. at 31-32 (finding

 an abuse of discretion where the district court refused to grant a post-conviction Rule 48(a) motion

 based on the Department of Justice’s Petite policy, which limits the bringing of federal

 prosecutions).

        To the Government’s knowledge, neither the Fifth Circuit nor any other appellate court has

 ever affirmed the denial of a Rule 48(a) motion to dismiss to which the defendant consented. Cf.

 In re United States, 345 F.3d 450, 453 (7th Cir. 2003) (“We are unaware . . . of any appellate

 decision that actually upholds a denial of a motion to dismiss a charge” on grounds that dismissal

 would not serve the “public interest.”).




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 IV.    THE GOVERNMENT’S REASONS FOR MOVING TO DISMISS

        After extensive review and careful consideration and conferral with the Families, the

 Government has determined that it is in the public interest to resolve this case through the NPA.

 The NPA secures tangible and significant benefits to the public immediately that further

 prosecution may not provide. Further, the Agreement accounts for the Government’s view of the

 uncertainty attendant with proceeding to trial and the current state of Boeing’s anti-fraud

 compliance and ethics program—which has improved in the almost one year since the parties

 proposed the plea agreement—and the FAA’s enhanced and sustained oversight of the Company.

 Dismissal of the Information without prejudice—which, importantly, will allow the Government

 to refile if Boeing does not satisfy its obligations—is an appropriate tradeoff for the certain,

 guaranteed, and substantial benefits the Agreement provides.

        A.      The NPA’s Benefits

                1.      Boeing Will Pay the Statutory Maximum Fine

        The NPA requires Boeing to pay another $243.6 million criminal penalty. Between the DPA

 and the NPA, Boeing will have paid the $487.2 million statutory-maximum fine given the offense

 gain or loss provable here beyond a reasonable doubt. 18 U.S.C. § 3571(d); see Southern Union v.

 United States, 567 U.S. 343 (2012). And the Agreement resolves liability only for the conduct

 described in the Statement of Facts and does not provide protection from prosecution for any other

 misconduct.

                2.      Boeing Will Pay Further Crash-Victim Compensation that Avoids the
                        Uncertain Restitution Process

        The NPA requires Boeing to pay $444.5 million into another Crash-Victim Beneficiaries

 Compensation fund to further compensate the Families and without prejudice to their recovery in

 civil suits. This figure reflects extensive analysis of the claims for restitution that the Government


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 has received from certain Families and provides greater certainty, and likely greater recovery, than

 would continued litigation here.

           As the Government has explained, restitution and its scope in this matter are uncertain.

 Restitution here requires the Government to secure a conviction and, because restitution is

 discretionary but not mandatory for the potential crime of conviction, to persuade the Court at

 sentencing that determining restitution is proper and not too complex or prolonged a process. 55

 Notably, the Government’s financial experts on personal economic loss spent over 3,000 hours

 designing and conducting its analysis of the restitution information provided for just under half of

 the crash victims. 56

           Boeing could seek to limit the restitution available under the statute’s plain terms and seek

 to offset any restitution obligation it may have against amounts that the Families have previously

 recovered in civil litigation. See 18 U.S.C. § 3663(b); United States v. Sheinbaum, 136 F.3d 443,

 449 (5th Cir. 1998) (“Of course, to avoid double-counting, a district court must reduce the size of

 its restitution order by any amount received by the victim as part of a civil settlement.”). To be

 sure, the Government would support the Families in seeking full and timely restitution upon a

 conviction, but there remains litigation risk as to what restitution, if any, the Families would

 receive.

           Meanwhile, the $444.5 million that Boeing must pay under the NPA’s second Crash-Victim

 Beneficiaries Fund represents tangible substantiated benefits free from litigation risk. The

 payments would not impact any ongoing civil litigation with Boeing, meaning the Families could

 still pursue any additional claims for losses as they see fit, and this funding supplements the



 55
      18 U.S.C. § 3663(a)(1)(B)(ii); see Gov’t Plea Resp. at 31-33.
 56
      Gov’t NPA Decl., at 5, ¶ 13.

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 payments already made to the Families through civil litigation or the DPA’s initial Crash-Victim

 Beneficiaries Compensation fund.

                3.     Boeing Commits to Compliance Improvements that May Not Be
                       Required as Part of a Criminal Sentence

        To address Boeing’s compliance operations, the NPA requires Boeing to invest $455

 million to strengthen its compliance, safety, and quality programs. These enhancements will

 benefit the public by reducing the risk of the recurrence of fraud at Boeing and ensuring that the

 Company effectively integrates its safety and compliance programs. It is not certain the Court

 could require this remedial investment as part of a post-conviction sentence, at least not without

 impacting the amount of a criminal fine the Court could impose. 57

        Next, the NPA demands that Boeing spend two more years continuing to implement and

 maintain a rigorous anti-fraud compliance program. The compliance program must incorporate

 relevant internal controls, policies, and procedures designed to effectively detect and deter

 violations of U.S. federal anti-fraud laws and integrate its ethics and compliance program with its

 safety and quality programs as necessary to reasonably prevent violations of U.S. anti-fraud laws

 or policies. The compliance program will include, but not be limited to, the minimum elements set

 forth in the NPA’s Attachment C. Throughout this two-year period, Boeing will remain under

 enhanced self-reporting obligations to the Government.

        The Company must also retain an independent compliance consultant. This consultant will

 serve as an independent third party evaluating whether Boeing is meeting its obligations to

 implement an effective compliance program and recommending actions Boeing should take to



 57
   See Proposed Plea Hearing Transcript, at 84-85 (discussing United States v. Southern Union,
 942 F.Supp.2d 235 (D.R.I. 2013)); see also United States v. CITGO Petroleum Corp., 2012 WL
 4127800, at *4-*5 (S.D. Tex. Sept. 18, 2012).

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 meet those obligations. However, rather than conduct the compliance-program testing itself, the

 consultant will observe Boeing’s team as the Company conducts the testing. This will allow Boeing

 to implement self-sustained improvements to its anti-fraud compliance program, demonstrate its

 capacity to self-test its own program, and remediate deficiencies, but under observation by a

 sophisticated third party that will be reporting directly to the Department on Boeing’s progress.

 The compliance consultant will help address any lingering anti-fraud compliance risks while still

 providing an independent check on the company and an independent set of eyes to help the

 Government assess the company’s progress in meeting its compliance obligations.

        The consultancy arrangement ensures a prudent amount of oversight. As the Government

 has previously explained, it is sensitive to the risks and complications that a monitor could pose to

 the FAA’s oversight and Boeing’s continued improvement. The Government continues to prioritize

 a resolution that accounts for these concerns. For these reasons, the NPA strikes a balance of

 ensuring the FAA continues taking the lead role in its regulatory functions, accounts for

 improvements that the Company is making, and requires additional investment and measures to

 further improve the Company’s compliance regime.

        The NPA finally requires that Boeing’s Chief Executive Officer and Chief Compliance

 Officer certify before the end of the term that Boeing has met its compliance-related obligations

 under the NPA.

                4.      Boeing’s Board of Directors Will Meet With the Families

        The Agreement requires Boeing’s Board of Directors to meet with the Families to hear

 directly from them about the impact of the Company’s conduct, as well as the Company’s

 compliance, safety, and quality programs. A conviction could not provide a guarantee of such a

 meeting, in which some Families have expressed interest.



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        B.      Considerations of the Company’s Compliance Program and FAA Oversight

        Since the summer of 2024, when the Government determined that Boeing had breached

 the DPA and sought a plea agreement, there have been significant changes internal and external to

 Boeing impacting Boeing’s anti-fraud compliance program. These changes bear on the

 Government’s view as to the proper resolution in this matter.

        First, under the oversight of the FAA, Boeing has prepared and begun executing a

 remediation program designed to address the findings from a special FAA audit conducted in the

 wake of the January 2024 Alaska Airlines Flight 1282 incident. The FAA-approved remediation

 program includes specific production health metrics that senior career FAA officials review

 weekly. The FAA has also increased the number of air safety inspectors staffed at Boeing’s

 production facilities. These air safety inspectors independently conduct audits, investigate

 whistleblower complaints received by the FAA, and validate Boeing’s completion of the

 enhancements promised under the remediation plan. As before with its proposed plea agreement,

 the Government believes that a resolution of this matter whether before or after trial must respect

 the FAA’s congressionally mandated authority.

        Second, beyond its engagement with the FAA, Boeing has made meaningful enhancements

 to its compliance program to address the core concerns underlying the Government’s DPA breach

 finding. For example, Boeing established a compliance integration team to support and integrate

 the compliance and ethics program with the quality, manufacturing, and safety functions.

 Additionally, to better position Boeing to identify and remediate gaps in its controls over

 compliance and safety, Boeing has restructured and improved resourcing around its internal audit

 function to increase its stature and independence, all of which are essential to Boeing’s ability to

 independently test and mitigate compliance risk.



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           C.      Potential of No Further Accountability

           The Government continues to hold its considered view of what the pretrial litigation and

 trial in this case would look like, and the attendant risks. 58 Although the Government stands by its

 case, these risks would, if they came to fruition, allow Boeing to escape any further accountability.

 And even if Boeing were convicted, there is no guarantee that sentencing could secure all the

 benefits provided under the NPA, and certainly not on the immediate timeline provided for under

 the Agreement. The Government has carefully considered and weighed these risks in deciding to

 proceed with the NPA.

           First, before this case even proceeds to trial, the Government expects that Boeing would

 vigorously challenge the Government’s determination that it breached the DPA. The Company has

 repeatedly invoked United States v. Castaneda, 162 F.3d 832 (5th Cir. 1998), to argue that the

 Government’s breach determination is subject to judicial review. 59 Although the Government

 disagrees with the company’s reading of Castaneda, if Boeing prevailed, the Government would

 have to prove by a preponderance of the evidence to this Court that Boeing breached the DPA’s

 terms. The Government believes that it could do so but cannot ignore the possibility of this Court

 issuing an adverse finding. 60 Such a finding would compel the Government to move for dismissal

 under Rule 48(a), but without the benefits of the instant NPA.

           Second, notwithstanding the strength of the Government’s case, conviction at trial is not

 guaranteed—as is true in any matter that the Government must prove beyond a reasonable doubt.


 58
      E.g., Gov’t Plea Resp., at 9-12.
 59
  E.g., Boeing Resp. in Support of Plea Agreement, at 4, 17, ECF No. 246 (Aug. 14, 2024) (citing
 Castaneda).
 60
   See Order Rejecting Plea, at 11 (noting when rejecting the proposed plea agreement that the
 Court thought it “not clear what all Boeing has done to breach the Deferred Prosecution
 Agreement” despite the Government’s Factual Basis for Breach concerning the breach).

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 The Government would, of course, seek to admit the Statement of Facts that Boeing agreed to

 when executing the now-breached DPA. But even if the Statement of Facts was admitted in whole

 or in part over any objection, the Government has concluded that there remains risk a jury would

 not be convinced beyond a reasonable doubt that Boeing violated 18 U.S.C. § 371. The Court

 observed for itself how the trial of the former Chief Technical Pilot proceeded, which ended in

 acquittal, and has commented on potential vulnerabilities in the Government’s evidence. 61

           Many Family members want the Government to go to trial regardless of the litigation risks.

 But at the core of their objection to the NPA, and the proposed plea agreement before that, is the

 presumption that the Government would present a more expansive case at trial (or at sentencing

 post-trial) that reveals a criminal conspiracy that reached to the highest levels of the Company, and

 proves that Boeing is criminally responsible for the deaths of their loved ones. But the reality

 presented by the evidence and the law is that the Government could not, consistent with

 Department policy and its ethical and professional obligations, put on such a case. The testimony

 and evidence the Government can seek to introduce against Boeing would track the Statement of

 Facts accompanying the Agreement and overlap to a substantial degree with the testimony and

 evidence the Government introduced in the trial of Boeing’s former Chief Technical Pilot. While

 the Government appreciates the significance of a felony conviction in its own right, the

 Government has taken into consideration that the conviction the Government could secure at trial

 would not be the same conviction that the objecting Families actually envision or want.

           Third, as discussed above, the sentencing outcomes are not certain to exceed the benefits

 secured by the NPA but are certain to be subject to drawn-out litigation before the Court and the

 Fifth Circuit.


 61
      See e.g., Evidentiary H’rg Tr. at 35:9-16, 36:2, 37:1-5 (Aug. 26, 2022).

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 V.     CONCLUSION

        For the reasons given, the Government respectfully asks the Court to enter an Order

 dismissing the Information without prejudice under Rule 48(a) and, in the interim, to terminate the

 pretrial deadlines and vacate the trial date.


                                                   Respectfully submitted,


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